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                    EXHIBIT 1
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                                                                                         September 5, 2016

Robert Nash
200 Alps Mountain Road
Averill Park, NY 12018
Phone (518) 755-1983
Permit license #C30189 issued 03/12/2015


Dear Honorable Judge Richard J McNally Jr.,

I am writing this letter to request that the restrictions be removed from my pistol permit. I intend to use
my pistol for personal protection where legally permitted. The recent string of robberies in the area has
prompted me to go ahead and ask for this request, most recently, on my street at 35 Alps Mountain Road
on August 15th 2016.

I have and continue to be a law abiding citizen of Rensselaer County. I have spent the last year and a half
improving my proficiency with my pistol in a safe manner. My shooting continues to become more
accurate the more I practice. My cousin Tim Osborn, a former marksman in the US Army, has been a big
part of this working on handling techniques, sight alignment, stance, breathing techniques, and trigger
control with me.

The basic pistol class and, most recently, the advanced safety and evaluation pistol class (on 8/31/2016 at
American Tactical Systems) that I have taken have also taught me a lot about law, safety and technique.

I understand fully the immense responsibility as well as the possible ramifications of carrying a firearm
concealed on my person for lawful purposes.

Thank you for considering my request.

Sincerely,



Robert Nash
